            Case 5:22-cv-00660-XR Document 5 Filed 07/01/22 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 JOYCE M. GORDON,                               §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §             Civil Action No. 5:22-cv-660-XR
                                                §
 U.S. BANK TRUST NATIONAL                       §
 ASSOCIATION AS TRUSTEE OF                      §
 CMSI REMIC 2007-09-REMIC PASS-                 §
 THROUGH CERTIFICATES SERIES                    §
 2007-09 and CENLAR FSB,                        §
                                                §
        Defendants.                             §

                     DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS

       Pursuant to 12(b)(6) of the Federal Rules of Civil Procedure, Defendants U.S. Bank Trust

National Association as Trustee of CMSI Remic 2007-09 Remic Pass-Through Certificates Series

2007-09 (“U.S. Bank”) and Cenlar FSB (“Cenlar”) (collectively “Defendants”) file this Motion to

Dismiss in response to Plaintiff Joyce M. Gordon’s (“Plaintiff”) Original Petition and Stay of

Order to Proceed with Expedited Foreclosure Under Tex. Rule Civil Procedure 736 in Cause No.

19-09-0669-CVW (“Complaint”) [Doc. 1-4] (“Plaintiff’s Complaint”) and respectfully shows the

Court the following:

                                       I.
                         SUMMARY & FACTUAL BACKGROUND

       1.      Plaintiff filed this suit against Defendants U.S. Bank and Cenlar to stop a

foreclosure sale scheduled for June 7, 2022, under the auspices that Defendants’ were pursuing

foreclosure on a Rule 736 foreclosure order. See Plaintiff’s Complaint [Doc. 1-4, pages 1-2]. When

in reality, Defendants have a judgment from the U.S. District Court for the Western District of

Texas in Case No. 5:22-cv-00044, U.S. District Judge Fred Biery.


Defendants’ Motion to Dismiss                                                           Page 1 of 8
H610-2130 / BDF 8379018 Gordon
             Case 5:22-cv-00660-XR Document 5 Filed 07/01/22 Page 2 of 8




        2.      Plaintiffs and her husband, non-party Keith Gordon, are the owners of certain real

property located at 624 Sunshine Meadow, Adkins, Texas 78101 (the “Property”). [Doc. 1-4] and

have filed this, the second lawsuit, in order to stop foreclosure of their home equity loan secured

by the Property. To obtain the Property, Plaintiff’s husband Keith Gordon executed a Texas Home

Equity Note (Fixed Rate – First Lien) (“Note”) and Plaintiff and her husband both executed a

Texas Home Equity Security Instrument (First Lien) (“Deed of Trust”), the Deed of Trust being

recorded in the Official Public Records of Wilson County, Texas. Id. U.S. Bank is the beneficiary

of the Deed of Trust and Cenlar is the mortgage servicer

        3.      Plaintiff concedes the Property was noticed for foreclosure sale on June 7, 2022.

However, Plaintiff filed this lawsuit to stop the foreclosure sale. [Doc. 1-4]. Plaintiff speciously

bases her claims on the allegation that Defendants do not have the right to enforce the Deed of

Trust. Based on these erroneous arguments, Plaintiff asserts a sole cause of action for declaratory

judgment. [Doc. 1-4].

        4.      The Court should dismiss Plaintiff’s Complaint in its entirety for failure to state a

claim because Plaintiff fails to clearly identify a cause of action upon which relief can be granted.

Further, Plaintiff fails to allege sufficient facts in support of her vague stated actions, as she fails

to specify why exactly Defendants cannot enforce the Deed of Trust.

        5.      Further, Plaintiff was served in the prior lawsuit, failed to appear and cannot now

seek to pursue any claims or should have been brought, against Defendants in the prior lawsuit.

This suit basically equates to an impermissible collateral attack on a valid judgment of the Court.




Defendants’ Motion to Dismiss                                                                 Page 2 of 8
H610-2130 / BDF 8379018 Gordon
              Case 5:22-cv-00660-XR Document 5 Filed 07/01/22 Page 3 of 8




                                          II.
                               ARGUMENT AND AUTHORITIES

        6.       Defendants incorporate the preceding paragraphs as if fully stated herein.

Defendants move the Court to dismiss Plaintiff’s Complaint as Plaintiff fails to state a claim for

which she is entitled to relief. [Doc. 1-4].

A.      Rule 12(b)(6) Standard

        7.       Plaintiff’s Complaint should be dismissed for failure to state a claim. In order to

survive a Rule 12(b)(6) motion, a plaintiff must plead “enough facts to state a claim to relief that

is plausible on its face.” Bell Atl. Corp. v. Twombly, 127 S. Ct. 1955, 1974 (2007). A 12(b)(6)

motion is proper if either the Petition fails to assert a cognizable legal theory or the facts asserted

are insufficient to support relief under a cognizable legal theory. See Stewart Glass & Mirror, Inc.

v. U.S.A. Glas, Inc., 940 F.Supp.1026, 1030 (E.D. Tex. 1996). “However, conclusory allegations,

unwarranted deductions of fact, or legal conclusions masquerading as factual allegations will not

suffice to prevent the granting of a motion to dismiss.” Percival v. American Home Mortgage

Corp., 469 F.Supp.2d 409, 412 (N.D. Tex. 2007). “[A] plaintiff must plead specific facts, not mere

conclusional allegations, to avoid dismissal for failure to state a claim.” See Kane Enters v.

MacGregor (USA), Inc., 322 F.3d 371, 374 (5th Cir. 2003). While the allegations need not be overly

detailed, a plaintiff’s pleadings must still provide the grounds of his entitlement belief, which

“requires more than labels and conclusions, and a formulaic recitation of the elements will not do.”

Twombly, 127 S. Ct. at 1964-1965; see also Blackburn v. City of Marshall, 42 F.3d 925, 931 (5th

Cir. 1995).

        8.       “Dismissal can be based on either a lack of a cognizable legal theory or the absence

of sufficient facts alleged under a cognizable legal theory.” See Frith v. Guardian Life Ins. Co. of

Am., 9 F.Supp.2d 734, 737–38 (S.D.Tex.1998). While a complaint need not contain detailed


Defendants’ Motion to Dismiss                                                                Page 3 of 8
H610-2130 / BDF 8379018 Gordon
            Case 5:22-cv-00660-XR Document 5 Filed 07/01/22 Page 4 of 8




factual allegations to survive a 12(b)(6) motion, the Supreme Court has held that a plaintiff’s

“obligation to provide the ‘grounds’ of his ‘entitlement to relief’ requires more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (abrogating the Conley v. Gibson, 355 U.S.

41 (1957) ‘no set of facts’ standard as “an incomplete, negative gloss on an accepted pleading

standard”) (citations omitted). Plaintiff must allege “enough facts to state a claim to relief that is

plausible on its face” and “raise a right to relief above the speculative level.” Id.; Nationwide Bi–

Weekly Admin., Inc. v. Belo Corp., 512 F.3d 137, 140 (5th Cir. 2007).

B.     Dismissal is Also Proper Under Rule 8 of the Federal Rules of Civil Procedure.

       9.      Plaintiff’s Complaint is subject to dismissal because it fails to satisfy the

requirements of Rule 8. Under Rule 8(a)(2), a complaint must set forth "a short and plain statement

of the claim showing that [the plaintiff] is entitled to relief." See Fed. R. Civ. P. 8. Further, Rule

8(d), specifically states that "[e]ach allegation must be simple, concise, and direct." Id. To avoid

judgment on the pleadings or dismissal, a complaint must contain "enough facts to state a claim to

relief that is plausible on its face." Twombly, 550 U.S. at 555 (2007). "[T]he basic requirements of

Rule 8 apply to self-represented and counseled plaintiffs alike." Wynder v. McMahon, 360 F.3d

73, 79 n.11 (2d Cir. 2004). A district court has the power to dismiss a complaint when a plaintiff

fails to comply with Rule 8's "short and plain statement" requirement. See Kuehl v. Fed. Deposit

Ins. Corp., 8 F.3d 905, 908 (1st Cir. 1993). It is appropriate to strike a pleading for gross violation

of Rule 8, or when material contained in pleading is scandalous, immaterial or redundant. See Asay

v. Hallmark Cards, Inc., 594 F.2d 692, 696 n.2 (8th Cir. 1979). Plaintiff’s Complaint fails to meet

the Rule 8 standards and should be dismissed




Defendants’ Motion to Dismiss                                                                Page 4 of 8
H610-2130 / BDF 8379018 Gordon
             Case 5:22-cv-00660-XR Document 5 Filed 07/01/22 Page 5 of 8




C.     Plaintiff Fails to State a Claim Declaratory Judgment

       10.      Defendants assert that Plaintiff’s claims for declaratory relief should be dismissed

because Plaintiff has not alleged any viable claims against Defendants. A declaratory judgment

action is a form of relief based upon underlying claims. See, Collin Cnty., Tex. v. Homeowners

Ass’n for Values Essential to Neighborhoods (HAVEN), 915 F.2d 167, 170-71 (5th Cir. 1990). The

availability of a declaratory judgment, “presupposes the existence of a judicially remedial right.”

Schilling v. Rogers, 363 U.S. 666, 677, 80 S.Ct. 1288, 4 L.Ed.2d 1478 (1960). The Declaratory

Judgments Act is a procedural device that creates no substantive rights. See Aetna Life Ins. Co. v.

Haworth, 300 U.S. 227, 239-41, 57 S.Ct. 461, 81 L.Ed. 617 (1937).

       11.      “A declaratory judgment action is merely a vehicle that allows a party to obtain an

‘early adjudication of an actual controversy’ arising under other substantive law.” Capital One v.

Swisher-35, Ltd., 2008 WL 4274499, at *2 (N.D. Tex. Sept. 17, 2008) (quoting Collin County,

Tex. v. Homeowners Ass’n for Values Essential to Neighborhoods, 915 F.2d 167, 170 (5th Cir.

1990)). “In a declaratory judgment action, the controversy between the parties relates to the

‘underlying cause of action of the defendant against the plaintiff.’” Id. Thus, the Declaratory

Judgment Act can provide no relief to a plaintiff unless a justiciable controversy exists between

the parties. Kazmi v. BAC Home Loans Servicing, L.P., 2012 WL 629440, at *15 (E.D. Tex. Feb.

3, 2012) report and recommendation adopted, 2012 WL 629433 (E.D. Tex. Feb. 27, 2012), 517

Fed. Appx 228 (5th Cir. 2013) (per curiam) (unpublished).

       12.      A plaintiff seeking declaratory relief must therefore allege a “substantial and

continuing” controversy, which the Fifth Circuit has likened to the Article III standing requirement

of an existing case or controversy. See Bauer v. Tex., 341 F.3d 352, 358 (5th Cir. 2003). “The

Plaintiff must allege facts from which the continuation of the dispute may be reasonably inferred.”



Defendants’ Motion to Dismiss                                                             Page 5 of 8
H610-2130 / BDF 8379018 Gordon
              Case 5:22-cv-00660-XR Document 5 Filed 07/01/22 Page 6 of 8




Id. A request for declaratory judgment is remedial in nature and depends upon the assertion of

viable causes of action. See Naddour v. Nationstar Mortg., LLC, No. 3:11-cv-1096-B, 2012 WL

4473127, at *7 (N.D. Tex. Sept. 27, 2012).

        13.      Plaintiff pleads no facts to support her claim, yet seeks a judgment declaring “the

Deed of Trust void ab initio; that any purported lien evidenced by the Deed of Trust is void; and

that such purported lien does not constitute a lien or encumbrance against the Property.” See

Plaintiff’s Complaint [Doc. 1-4, para. 14]. Plaintiff supports this allegation with no evidentiary or

factual support whatsoever, simply failing to even outline why she believes Defendants are not

entitled to enforce the Deed of Trust. Plaintiff’s Complaint fails to state a cause of action upon

which relief can be granted.

                                            III.
                                 DISMISSAL WITH PREJUDICE

        14.      The Court should deny Plaintiff an opportunity to amend because any amendment

to its pleadings would be futile. See SB. Intern., v. Jindal, 2007 WL 2410007, * at 3 (N.D. Tex.

Aug. 23, 2007)(citing Foman v. Davis, 371 U.S. 178, 182 (1962)); see also Abruzzo v. PNC Bank,

N.A., 2012 WL 3200871, at *3 (N.D. Tex. July 30, 2012) (denying leave to amend with respect to

claims that fail as a matter of law). Plaintiff’s allegations do not give rise to a plausible cause of

action against Defendants. Even if all facts alleged by Plaintiff are assumed true, no viable cause

of action exists against Defendants as Plaintiff has not pleaded “enough facts to state a claim to

relief that is plausible on its face.” Twombly, 550 U.S. at 570. Further, Plaintiff cannot use this suit

as a collateral attack on a valid prior judgment. Defendants’ Motion to Dismiss should be granted

because Further, even if allowed the opportunity to amend, Plaintiff cannot assert a viable claim

against Defendants. As such, Plaintiff’s claims against Defendants should be dismissed with

prejudice pursuant to Rule 12(b)(6).


Defendants’ Motion to Dismiss                                                                Page 6 of 8
H610-2130 / BDF 8379018 Gordon
           Case 5:22-cv-00660-XR Document 5 Filed 07/01/22 Page 7 of 8




                                            IV.
                                        CONCLUSION

       Plaintiff fails to state a claim upon which relief can be granted. Accordingly, Defendants

U.S. Bank and Cenlar respectfully request that their Motion to Dismiss be granted and Plaintiff’s

claims be dismissed with prejudice. Defendants further request all relief, at law or in equity, to

which they are entitled.


                                             Respectfully submitted,

                                             By:    /s/ Shelley L. Hopkins
                                                    Shelley L. Hopkins
                                                    State Bar No. 24036497
                                                    BARRETT DAFFIN FRAPPIER
                                                    TURNER & ENGEL, LLP - Of Counsel
                                                    3 Lakeway Centre Ct., Suite 110
                                                    Austin, Texas 78734
                                                    (512) 600-4320
                                                    ShelleyH@bdfgroup.com
                                                    shelley@hopkinslawtexas.com

                                                    Robert D. Forster, II
                                                    State Bar No. 24048470
                                                    BARRETT DAFFIN FRAPPIER
                                                    TURNER & ENGEL, LLP
                                                    4004 Belt Line Road, Ste. 100
                                                    Addison, Texas 75001
                                                    (972) 386-5040
                                                    (972) 341-0734 (Facsimile)
                                                    RobertFO@bdfgroup.com

                                                    ATTORNEYS FOR DEFENDANTS




Defendants’ Motion to Dismiss                                                           Page 7 of 8
H610-2130 / BDF 8379018 Gordon
           Case 5:22-cv-00660-XR Document 5 Filed 07/01/22 Page 8 of 8




                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 1st day of July, 2022, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy to
the following:

VIA ECF:
Robert C. Newark, III
A Newark Firm
1341 W. Mockingbird Lane, Suite 600W
Dallas, Texas 75247
office@newarkfirm.com
ATTORNEYS FOR PLAINTIFF
                                                      /s/ Shelley L. Hopkins
                                                      Shelley L. Hopkins




Defendants’ Motion to Dismiss                                                              Page 8 of 8
H610-2130 / BDF 8379018 Gordon
